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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK, et al.,                                             :
                                                                       :
                                        Plaintiffs,                    :   25-CV-01144 (JAV)
                                                                       :
                  -v-                                                  : OPINION AND ORDER
                                                                       :
DONALD J. TRUMP, in his official capacity as                           :
President of the United States, et al.,                                :
                                                                       :
                                        Defendants.                    :
---------------------------------------------------------------------- X
JEANNETTE A. VARGAS, United States District Judge:

       This is one of many lawsuits brought in recent weeks challenging aspects of

the work of the newly established Department of Government Efficiency (“DOGE”).

In this particular case, nineteen states (collectively, the “States” or “Plaintiffs”)

represented by their respective Attorneys General, challenge the access to

information provided to members of the DOGE team established at the U.S.

Department of Treasury. Currently pending before this Court is Plaintiffs’ motion

for a preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil

Procedure. Specifically, Plaintiffs seek to enjoin Defendants “from taking any

action to develop, facilitate, or implement any process, whether automated or

manual, for Treasury Department payment systems to flag and pause payment

instructions for reasons other than the statutorily-authorized business of the

Treasury Department”; and to restrain any Treasury Department employee (other

than those in Senate-confirmed positions) from accessing any Treasury Department

system that contained personally identifiable information (“PII”) or financial
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information of payees, other than those “with a need for access to perform their

lawful duties within the [BFS] who have passed all background checks and security

clearances, taken all information security training called for in federal statutes and

Treasury Department regulations, and have complied with all applicable

government ethics rules.” ECF No. 51-1 at 2.

      For the reasons stated herein, Plaintiffs’ motion for a preliminary injunction

is GRANTED. The preliminary injunction substantially tracks the terms of the

temporary restraining order (“TRO”) that is presently in place, in that it bars the

Treasury Department from granting access to any member of the DOGE team

within the Treasury Department to any payment record, payment systems, or any

other data systems maintained by the Treasury Department containing personally

identifiable information and/or confidential financial information of payees. But

Plaintiffs have not demonstrated that they are entitled to the broad and sweeping

relief they seek, which would far exceed the scope of the present TRO to prohibit

members of the DOGE team from developing automated (or even manual) processes

to halt payments coming through Treasury Department payment systems. The

remedy in this case must be narrowly tailored to redress the specific harm asserted

by the Plaintiffs: the threatened disclosure of the States’ sensitive bank

information contained in the Treasury Department’s payment systems. Plaintiffs’

proposed preliminary injunction order is anything but narrow.

      Additionally, the duration of the preliminary injunction also has the potential

to be limited in scope. The Court is providing Defendants with an opportunity to

promptly cure the procedural defects relating to the protection of sensitive and

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confidential information that the Court has identified in this Opinion. Should

Defendants do so, the Court will determine whether termination or modification of

the preliminary injunction is warranted.

                                  BACKGROUND

A.    Factual History

      “In deciding a motion for preliminary injunction, a court may consider the

entire record including affidavits and other hearsay evidence.” Park Irmat Drug

Corp. v. Optumrx, Inc., 152 F. Supp. 3d 127, 132 (S.D.N.Y. 2016) (quotation marks

omitted); see also Mullins v. City of New York, 626 F.3d 47, 52 (2d Cir. 2010).

Accordingly, the following facts are drawn from the entire record in this case,

including the complaint, documents cited in the complaint, and the affidavits

submitted by the parties. See Banco San Juan Int’l, Inc. v. Federal Reserve Bank of

New York, 700 F. Supp. 3d 86, 92 (S.D.N.Y. 2023) (relying upon operative complaint

as well as party affidavits in making findings of fact); Pawelsky v. County of

Nassau, New York, 684 F. Supp. 3d 73, 78 n.1 (E.D.N.Y. 2023) (same).

      1.     The Bureau of the Fiscal Services

      The Bureau of Fiscal Services (“BFS”) is an operational bureau within the

U.S. Department of the Treasury. Compl., ¶ 67. BFS manages the federal

government’s accounting, central payment systems, and public debt, and serves as

the central payment clearinghouse for all payments to and from federal agencies.

ECF No. 33 (“Second Krause Decl.”), ¶ 5. BFS handles 87.8% of the U.S.

Government’s payments, valued at $5.46 trillion annually, in over 1.2 billion

transactions per year. ECF No. 32 (“Robinson Decl.”), ¶ 2; see also Second Krause

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Decl., ¶ 5; Treasury Department Letter to Members of Congress Regarding

Payment Systems, U.S. Dep’t of the Treasury (Feb. 4, 2025), available at

https://perma.cc/Y6DF-UVZ4 (cited in Compl., ¶ 69 n.35). Included in those

disbursements are funding to state governments for, inter alia, Medicaid, FEMA,

Edward Byrne JAG grants, education, and foster care programs. Compl., ¶ 69.

      BFS employs three primary payment systems, each of which performs critical

functions in the federal government’s financial infrastructure. ECF No. 34 (“Gioeli

Decl.”), ¶¶ 3, 5; Second Krause Decl., ¶ 14. The Payment Automation Manager

(“PAM”) is the primary application used by Treasury to process payments for

disbursement. Gioeli Decl., ¶ 6. PAM includes several component sub-systems. Id.

PAM’s “file system” receives payment files from payor agencies into its “landing

zone,” the system that ingests payment files before agencies certify the payments

for processing. Robinson Decl., ¶ 5. These payment files contain confidential

personally identifiable information, including Social Security and bank account

numbers, federal tax return information regulated by Internal Revenue Code

section 6103, and Automated Clearing House data subject to 31 C.F.R. Part 210.

Compl., ¶¶ 2, 48, 71. When payment files come into the “landing zone,” they are

transferred to the PAM application, where the payment file is validated. Robinson

Decl., ¶ 5. BFS conducts a review of the file and generates a pre-edit report that,

among other things, contains information about potentially improper or fraudulent

payments. Id. For example, BFS will compare the payments in the file against the

Do Not Pay working system, which is used to identify payments that may be

improper or fraudulent. Second Krause Decl., ¶ 19. BFS notifies the submitting

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agency of any potential issues with the payment, and the agency then reexamines

the payment file to determine whether to ultimately certify it for processing. Id.

The agency uses the Secure Payment System (“SPS”) to certify the payment file.

Gioeli Decl., ¶ 8. Certified payments are then processed consistent with the

agency’s instructions in the file. Robinson Decl., ¶ 5.

      The other two BFS payment systems relevant here are the Automated

Standard Application for Payments (“ASAP”) and International Treasury

Services.gov (“ITS”). Second Krause Decl., ¶14; Gioeli Decl., ¶ 5. ASAP allows

recipients to draw down funds from established accounts. Gioeli Decl., ¶ 7. ITS is

used by federal agencies to make international payments, such as to recipients of

Social Security benefits living abroad. Id. ¶ 9. All three payment systems feed

information into the Central Accounting and Reporting System (“CARS”), which

records data regarding agency spending for budgetary purposes. Id. ¶ 10; Second

Krause Decl., ¶ 14.

      2.     The Department of Government Efficiency

      On January 20, 2025, President Donald Trump issued Executive Order

14,158, entitled Establishing and Implementing the President’s “Department of

Government Efficiency” (the “E.O.”). Exec. Order 14,158, 90 Fed. Reg. 8441 (Jan.

29, 2025). The E.O. established the Department of Government Efficiency, with the

stated purpose of “implement[ing] the President’s DOGE Agenda, by modernizing

Federal technology and software to maximize governmental efficiency and

productivity.” E.O. § 1. The E.O. renamed the former United States Digital Service

as the United States DOGE Service (“USDS”) and placed the USDS within the

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Executive Office of the President. Id. § 3(a). The E.O. further created the U.S.

DOGE Service Temporary Organization within the USDS, which is “dedicated to

advancing the President’s 18-month DOGE agenda.” Id. § 3(b). The U.S. DOGE

Service Temporary Organization is led by the USDS Administrator, who reports to

the White House Chief of Staff. Id.

      The E.O. calls for the creation of DOGE Teams within each executive agency.

Id. § 3(c). The DOGE Teams are to consist of at least four employees, including one

DOGE Team Lead, one engineer, one human resource specialist, and one attorney.

Id. Agency Heads are required to consult with the USDS Administrator in selecting

the members of the DOGE Team. Id. Additionally, Agency Heads are required to

coordinate their work with USDS, and DOGE Team Leads are to “advise their

respective Agency Heads on implementing the President’s DOGE Agenda.” Id.

      The E.O. directs the USDS Administrator to “commence a Software

Modernization Initiative to improve the quality and efficiency of government-wide

software, network infrastructure, and information technology (“IT”) systems.” Id.

§ 4(a). One goal of this project is to “promote inter-operability between agency

networks and systems, ensure data integrity, and facilitate responsible data

collection and synchronization.” Id. § 4(a). The E.O. commands agency heads to

“take all necessary steps, in coordination with the USDS Administrator and to the

maximum extent consistent with law, to ensure USDS has full and prompt access to

all unclassified agency records, software systems, and IT systems.” Id. § 4(b).

USDS is required to “adhere to rigorous data protection standards.” Id.



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      3.    The United States Treasury DOGE Team

      Within a few days of the promulgation of the E.O., a DOGE Team was formed

at the Treasury Department. Second Krause Decl., ¶ 1. Although the E.O. calls for

a minimum of four members to each DOGE Team, to date the DOGE Team

embedded within the Department of Treasury has never had more than two

members (and currently only has one member): Thomas H. Krause, Jr., the DOGE

Team Lead, and Marko Elez, who was the Treasury DOGE Team’s technical

specialist prior to his resignation. Id. ¶ 3. No attorney or human resource

specialist has been named to serve on the Treasury DOGE Team. Id.

            a.     Thomas Krause

      Krause is the DOGE Team Lead at the Treasury Department. Second

Krause Decl., ¶¶ 1-2. Although Krause claims to have been hired by the Treasury

Department for this position, he also suggests that USDS/DOGE “placed” him in the

Treasury Department. Id. ¶ 11. However his appointment came to be, the

Treasury Department created the role of Senior Advisor for Technology and

Modernization for Krause, id. ¶¶ 1-2, and on January 23, 2025, he was appointed as

a consultant for Treasury in accordance with 5 U.S.C. § 3109, ECF No. 31 (“Wenzler

Decl.”), ¶ 3. Consultants appointed under the authority of section 3109 are deemed

to be federal employees. 5 C.F.R. § 304.101. Krause waived compensation and is

serving unpaid. Wenzler Decl., ¶ 3.

      Krause’s duties as Senior Advisor, as set forth in his appointment paperwork,

were to assist in executing BFS’s “mission of promoting the financial integrity and

operational efficiency of the federal government through exceptional accounting,

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financing, collections, payments, and shared services.” Wenzler Decl., ¶ 6. He was

charged with focusing on issues related to operational resiliency; advancing

government-wide payment integrity; critical modernization programs; improving

the payment experience; and TreasuryDirect user credential costs. Id.

       Yet Krause’s appointment as a consultant meant that, as a legal matter, he

was circumscribed in the authority he could wield. As Defendants acknowledge,

under the governing regulation, agencies are prohibited from employing consultants

to perform managerial or supervisory work, to make final decisions on substantive

policies, or to function in the agency chain of command. 5 C.F.R. § 304.103(b); see

also Wenzler Decl., ¶ 7. Accordingly, the Treasury Department soon began to

explore options to retain Krause under different hiring authority. Id. ¶ 8. On

February 13, 2025, Krause was converted to a Temporary Transitional Schedule C

appointment pursuant to 5 C.F.R. § 213.3302. ECF No. 58 (“Third Krause Decl.”),

¶¶ 3-4. Section 213.3302 permits federal agencies to create positions “necessary to

assist a department or agency head during the 1-year period immediately following

a change in presidential administration.” Id. § 213.3302(a). Such positions “may

be established only to meet legitimate needs of the agency in carrying out its

mission during the period of transition associated with such changeovers,” and

“[t]hey must be of a confidential or policy-determining character.” Id. Upon his

conversion, Krause assumed the duties of the Fiscal Assistant Secretary. Third

Krause Decl., ¶ 4. In that role he oversees the activities of BFS. Second Krause

Decl., ¶ 5.



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      Notwithstanding the high-level roles he has assumed within the U.S.

Government, Krause has maintained his position as the CEO of Cloud Software

Group, “one of the largest privately held enterprise software companies globally.”

id. ¶ 6. To address the ethics issues resulting from this arrangement, the Treasury

Department designated Krause a Special Government Employee (“SGE”) under 18

U.S.C. § 202. Id. ¶ 1. An SGE is an officer or employee of the executive branch who

is retained, designated, appointed, or employed to perform, with or without

compensation, temporary duties for a period of time not to exceed one hundred and

thirty days during any period of three hundred and sixty-five consecutive days. 18

U.S.C. § 202. SGEs are exempted from certain conflict-of-interest prohibitions set

forth in Chapter 11 of the Criminal Code. See, e.g., id. §§ 203(c), 205(c); see also

Wenzler Decl., ¶ 11.

      Krause claims that he is “not an employee of USDS/DOGE,” but an employee

of the Treasury Department. Second Krause Decl., ¶ 4. The Court notes, however,

that in his role as DOGE Team Lead, Krause coordinates closely with officials at

USDS/DOGE. He provides USDS/DOGE officials with regular updates on his work.

Id. He also “receive[s] high-level policy direction” from USDS/DOGE. Id.

      Krause explained that one of his goals was to understand how “BFS’s end-to-

end payment systems and financial report tools work, recommend ways to update

and modernize those systems to better identify potentially improper and fraudulent

payments, and find ways to assist federal agencies in responding to statutes,

regulations, and Executive Orders that affect the Government’s payment

authorities and spending priorities.” Id. ¶ 11. Krause cites various GAO reports

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that have highlighted issues in properly accounting for transactions between federal

agencies and its weaknesses in identifying fraudulent payments. Id. ¶¶ 7-9. The

GAO has called upon agencies to improve their collection and use of data to prevent

and detect fraud. Id.

             b.    Marco Elez

      Marco Elez was hired as the second member of the Treasury DOGE Team,

where he was given the title of Special Advisor for Information Technology and

Modernization. Wenzler Decl., ¶ 9. Elez is a software engineer who previously

worked at several of Elon Musk’s companies, including SpaceX and X. Second

Krause Decl., ¶ 3. Elez was “recommended” to Krause and Treasury leadership by

unspecified people within USDS/DOGE. Id.

      Elez’s tenure at the Treasury Department was brief: he was appointed on

January 21, 2025, and resigned 16 days later, on February 6. Wenzler Decl., ¶ 9.

Elez was appointed to a Temporary Transitional Schedule C position. Id. Unlike

Krause, Elez was not designated as an SGE. Id. ¶ 11. Elez’s official duties, as set

forth in his appointment paperwork, were to conduct “special and confidential

studies on a variety of strategies and issues related to Treasury’s information

technology,” as well as making recommendations as to how to “strengthen

Treasury’s hardware and software.” Id. ¶ 10.

             c.    The Engagement Plan

      Upon the DOGE Team’s arrival at the Treasury Department, BFS decided to

“develop and implement a 4–6 week payment process engagement plan” that would

outline how BFS would support the Treasury DOGE Team (the “Engagement

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Plan”). Robinson Decl., ¶ 6. The purpose of this Engagement Plan was to provide

the DOGE Team with insight into the full, end-to-end BFS payment processes, to

identify data gaps that could make the systems work more efficiently, and “identify

opportunities to advance payment integrity and fraud reduction goals.” Id.; see also

Second Krause Decl., ¶ 13. “The scope of work as envisioned in the engagement

plan required access to [BFS] source code, applications, and databases across all the

[BFS] payment and accounting systems and their hosting environments.” Gioeli

Decl., ¶ 11. The Treasury Secretary approved the Engagement Plan. Second

Krause Decl., ¶ 15.

      BFS immediately apprehended that the broad level of access being provided

to the DOGE Team posed risks to the security of its sensitive payments systems.

Id. Those risks included “access to sensitive data elements, insider threat risks,

and other risks that are inherent to any user access to sensitive IT systems.” Gioeli

Decl., ¶ 11. BFS employees therefore developed a mitigation strategy to reduce

those risks as part of the Engagement Plan. Id.

      For example, Elez was provided with a BFS laptop, which would be his only

method of connecting to the various BFS payment systems. Id. ¶ 12. BFS “used

several cybersecurity tools to monitor [Elez’s] usage of his BFS laptop . . . and

continuously log his activity.” Id. BFS also enabled enhanced monitoring on the

laptop, which included “the ability to monitor and block website access, block the

use of external peripherals (such as USB drives or mass storage devices), monitor

any scripts or commands executed on the device, and block access to cloud-based



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storage services.” Id. Additionally, the laptop contained data exfiltration detection.

Id.

      Elez was also supposed to be limited to read-only access to PAM and SPS,

which would allow him to view and query information and data but would not allow

him to make any changes to that data. Id. ¶ 17. Krause was given “over the

shoulder” access by which he could view BFS payment systems or source code while

they were being accessed by another person with the required access and

permissions. Id. ¶ 4.

      At the hearing held on Plaintiffs’ motion, the Court inquired of counsel for

Defendants as to whether Krause or Elez were provided with any training on “the

array of federal regulations that govern handling of information of a sensitive

nature such as, for example, Internal Revenue Code regulations governing the

handling of return information [or] regulations governing the handling of Social

Security numbers.” ECF No. 68 (“PI Hearing Tr.”) at 20:13-19. In response, counsel

for Defendants referred the Court to paragraph 14 of the Gioeli Declaration, which

states that BFS “would provide safeguarding and handling instructions for

Treasury data for the duration of the project,” and that Elez and Krause were

instructed “that no Treasury information and data could leave the Bureau laptop

for the duration of the engagement.” Gioeli Decl., ¶ 14. From this description, it

does not appear that Elez and Krause were provided any specific training on the

numerous federal regulations and policies governing the handling and care of

sensitive information.



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       Pursuant to the Engagement Plan, on January 28, 2025, BFS provided Elez

with an encrypted laptop and copies of the source codes for PAM, SPS, and ASAP in

a “separate, secure coding environment known as a ‘secure code repository’ or

‘sandbox.’” Id. ¶ 16. Elez could review and make changes to the source code in the

sandbox, but he could not publish any changes to the actual payment systems

themselves. Id.

       On February 3, Elez was provided read-only access, through his BFS laptop,

to the PAM Database and PAM File System. Id. ¶ 17. He received a walk-through

demonstration that same day of those payment systems. Although his access to

PAM was “closely monitored” that day by “multiple BFS administrators,” id. ¶ 18, it

does not appear as if his access was subsequently monitored other than through the

logging program; BFS is still in the process of reviewing those logs to determine

what actions Elez took with respect to PAM while he had access to those systems.

Id.

       On February 5, Elez was given access to the SPS database. Id. ¶ 19. He

accessed the database once under the supervision of BFS administrators in a virtual

walkthrough session. Id. Elez resigned the next day, and thus did not have the

opportunity to access the database further. Id. Yet BFS later discovered that they

had erroneously provided Elez with read/write permissions for the SPS database.

Id. ¶ 20.

       Despite the security measures that were available, the record is less clear as

to the extent they were actually employed or were adequate to protect against

unauthorized disclosures of the information contained in the BFS systems. The

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Government’s declarations indicate that it had the “ability” to block Elez’s access to

peripherals on his BFS laptop but is silent as to whether it actually did so. Id. ¶ 12.

Elez was apparently allowed, for example, to take screenshots of BFS data. Id. ¶ 4.

Elez also sent emails outside of the Treasury Department to USDS/DOGE. PI

Hearing Tr. at 15:18-23. The Treasury Department cannot say whether or not

those emails contained sensitive BFS data. Id. at 15:17-22. More than a week after

Elez resigned from the Treasury Department, BFS was still in the process of

reviewing the logs of Elez’s activity on his laptop and within the BFS systems to

determine if there was any unauthorized use. Gioeli Decl., ¶ 21. Although a

preliminary review of those logs did not reveal any use outside the scope of the

Engagement Plan, it is notable that Treasury has to conduct a forensic review of

Elez’s activity and review the logging reports in order to determine what precisely

Elez was doing during the periods he had access to BFS source codes and payment

systems.

             d.     DOGE Team Work on Automating Pauses of Payments

      One of the Treasury DOGE Team’s tasks was to “help agencies effectuate the

President’s Executive Orders requiring pauses to certain types of financial

transactions.” Second Krause Decl., ¶ 17. Their efforts in this area have to date

been focused on intercepting payments potentially implicated by the President’s

Executive Orders regarding foreign development assistance, including the January

20, 2025 Executive Order entitled “Reevaluating and Realigning United States

Foreign Aid.” Id. The DOGE Team assisted in developing a process to identify

payment files within the PAM file system’s “landing zone” potentially implicated by

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the Executive Order and to flag those payments for the State Department prior to

their entry into the PAM payment processing systems. Robinson Decl., ¶ 8; Second

Krause Decl., ¶¶ 18-19.

      The DOGE Team originally focused on developing a process to intercept

potential USAID payment files. Robinson Decl., ¶ 8. On January 27, however, the

State Department decided that it would review USAID files prior to the initial

submission to BFS, rendering the BFS intercept process unnecessary. Id.

Ultimately, no USAID payments were interrupted as a result of the DOGE Team’s

work. Id.

      On January 31, 2025, BFS and the DOGE Team developed a process to

identify incoming payment files to the “landing zone” associated with one of four

specified Treasury Account Symbol (“TAS”) codes. Id. ¶ 10; Second Krause Decl., ¶

20. TAS codes are identifiers for particular agency accounts. Robinson Decl., ¶ 10.

The four TAS codes at issue were non-USAID payments that nonetheless may have

been covered under the foreign aid Executive Order. Id. BFS created copies of the

payment files containing those TAS codes and moved them into a separate folder

(the “MoveIT” folder) where they could then be sent to the State Department for

further review. Id.

      BFS career staff initially queried the PAM file system manually to identify

the implicated payment files and shared those payment files with Elez for review

through the MoveIT folder. Id. ¶ 11. At some point after January 31, Elez assisted

in automating the manual review of the payment files. Id. On the morning of

February 7, 2025, four payment files were flagged, but the State Department

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ultimately determined that the payments were not implicated by the foreign aid

Executive Order, and the four payment files were processed that same day. Id. ¶

13. On February 10, another payment file was flagged for further review by the

State Department; the State Department requested that BFS not process the

payment. Id. ¶ 14.

B.    Procedural History

      On February 7, 2025, the Attorneys General of nineteen states (collectively,

the “States) filed a Complaint, ECF No. 1 (“Compl.”), which also served as a Request

for Emergency Temporary Restraining Order Under Federal Rule of Civil Procedure

65(B), seeking declaratory and injunctive relief. The States are each recipients of

significant amounts of federal funds, which are processed through BFS. Id. ¶¶ 74-

120. In order to receive funds through BFS payment systems, the States provide

the Treasury Department with their wiring and bank account information. Id. ¶¶

76-80. Additionally, the sensitive, confidential information of State residents,

including social security numbers, bank account information, and federal tax return

information, is also contained in the BFS payment systems. Id. ¶¶ 74-75.

      In their TRO application, the States alleged that the Treasury Department

had provided access to their data to DOGE officials who “were not employees of

Treasury,” in violation of federal law. Id. ¶ 138. They further alleged that the

“conduct of DOGE members presents a unique security risk to States and State

residents whose data is held by BFS.” Id. ¶ 139; see also id. ¶ 10. The States cited

media reporting that DOGE had been feeding data from federal agencies into an

open-source Artificial Intelligence system owned and controlled by a private third

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party, without measures taken to ensure its security. Id. ¶ 10. The States argued

that “[u]nsecure data is susceptible to cyber attacks and identity theft.” Id. ¶ 140.

The Complaint also raised concerns that this new policy had been implemented as a

mechanism to block payments to States that they were entitled to under federal

law. Id. ¶¶ 15, 141, 174, 189.

      The Complaint contends that the policy of granting expanded access to the

BFS payment systems to DOGE officials violates the Administrative Procedure Act

(“APA”), 5 U.S.C. §§ 551 et seq.; exceeds the statutory authority of the Department

of the Treasury; violates the separation of powers doctrine; and violates the Take

Care Clause of the United States Constitution. Id. ¶¶ 154-99.

      In support of their motion, Plaintiffs submitted the Affirmation of Colleen K.

Faherty, which explained that Plaintiffs were concerned that the expanded access

to BFS payment systems granted to officials associated with DOGE would result in

the “numerous injuries as described in the” Complaint. ECF No. 5 (“Faherty Aff.”),

¶¶ 4-5.

      On February 8, 2025, the Part I Judge granted the States’ emergency request

for an ex parte Temporary Restraining Order (ECF No. 7) to restore the status quo

prior to the agency action. ECF No. 6 (“February 8 TRO”). Based upon his review

of Plaintiffs’ submissions, the Part I Judge determined that the States had

adequately shown that they faced “irreparable harm in the absence of injunctive

relief,” specifically “because of the risk that the new policy presents of the disclosure

of sensitive and confidential information and the heightened risk that the systems

in question will be more vulnerable than before to hacking.” Id. at 2. The Part I

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Judge further found that the States “have shown a likelihood of success on the

merits of their claims, with the States’ statutory claims presenting as particularly

strong.” Id.

      The February 8 TRO restricted Defendants from

               granting access to any Treasury Department payment
               record, payment systems, or any other data systems
               maintained by the Treasury Department containing
               personally identifiable information and/or confidential
               financial information of payees, other than to civil
               servants with a need for access to perform their job duties
               within the Bureau of Fiscal Services who have passed all
               background checks and security clearances and taken all
               information security training called for in federal statutes
               and Treasury Department regulations [and] from
               granting access to all political appointees, special
               government employees, and government employees
               detailed from an agency outside the Treasury
               Department, to any Treasury Department payment
               record, payment systems, or any other data systems
               maintained by the Treasury Department containing
               personally identifiable information and/or confidential
               financial information of payees.

Id. at 3. The TRO also scheduled a show cause hearing on Plaintiff’s motion for a

preliminary injunction for February 14, 2025. Id. at 2.

      On the evening of February 9, 2025, Defendants filed an Emergency Motion

to Dissolve, Clarify, or Modify the Ex Parte TRO. ECF No. 11. Defendants argued

that the February 8 TRO’s restriction on access by political appointees, to the extent

it included the Secretary of the Treasury and other senior Treasury leadership,

raised constitutional concerns and should be dissolved. ECF No. 12 at 5-6.

Defendants alternatively sought modification of the February 8 TRO to allow for

access by contractors who provided operational support for the payment systems
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and employees of the Federal Reserve Bank who were responsible for helping to

maintain several of the payment systems on Federal Reserve servers. Id. at 8-9.

      Although the parties reached agreement on proposed language to modify the

February 8 TRO as it regards the issue of access by Federal Reserve employees and

outside contractors, Plaintiffs opposed any modification to the February 8 TRO’s

prohibition of access for political appointees. ECF No. 20 at 3-5. The Court granted

in part and denied in part the motion to modify the TRO. ECF No. 28 (“Modified

TRO”). The Modified TRO clarified that the Secretary of the Treasury and other

Senate-confirmed senior Treasury Officers were not prohibited from accessing the

Treasury’s payment systems. Id. at 6-7. Federal Reserve employees and outside

contractors were also allowed access to the BFS payment systems. Id. at 7.

      In advance of the preliminary injunction hearing, the Court issued an Order

requiring the parties to submit a joint letter setting forth their positions regarding

the process that should be followed in adjudicating Plaintiffs’ motion for a

preliminary injunction. ECF No. 29. As set forth in that joint submission, neither

party sought any discovery in advance of the preliminary injunction hearing. ECF

No. 49 at 4. Additionally, the parties agreed that an evidentiary hearing in

connection with the preliminary injunction motion was not needed, and that the

parties were instead relying solely on the parties’ submissions and oral argument at

the hearing. Id. Finally, neither party sought consolidation of the hearing on the

preliminary injunction motion with a trial on the merits. Id. at 4-5.

      In opposition to the TRO and the preliminary injunction motion, Defendants

submitted (1) three declarations from Thomas Krause, the DOGE Team Lead at the

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Treasury Department, ECF Nos. 13, 33, 58; (2) two declarations from Vona

Robinson, the Deputy Assistant Commissioner for Federal Disbursement Services

at BFS, ECF Nos. 32, 47; (3) the Declaration of Joseph Gioeli III, the Deputy

Commissioner for Transformation and Modernization at BFS, ECF No. 34; and (4)

the Declaration of Michael J. Wenzler, the Associate Chief Human Capital Officer

for Executive and Human Capital Services at the Department of the Treasury, ECF

No. 31.

      After having the benefit of those submissions, which clarified the chain of

events at the Treasury Department, Plaintiffs submitted a reply brief that modified

their position regarding the nature of the agency action that was the subject of their

motion. ECF No. 51 (“Pls. Rep. Br.”). Plaintiffs indicated that they no longer

sought an injunction focused on “the category of employee” engaged in the

challenged conduct, but rather on the challenged conduct itself. Id. at 1. 1

      Plaintiffs submitted a Proposed Preliminary Injunction Order that would

restrain Defendants “from taking any action to develop, facilitate, or implement any



      1 It bears noting that, in seeking an emergency TRO, Plaintiffs (based largely
on media reporting) alleged that Defendants were allowing the BFS payment
systems to be accessed on non-government third-party servers, and potentially
feeding information from those systems into a cloud based open-source Artificial
Intelligence (“AI”). Compl. ¶¶ 9-11. Plaintiffs further claimed that the “third party
cloud computing service that DOGE is reportedly using for this effort has
experienced at least one major security breach.” Id. ¶10. Plaintiffs also alleged that
Elon Musk, whom they referred to as the co-head of DOGE, made comments about
wanting to put the BFS payment system on the blockchain. Id. ¶¶ 6, 9. Ultimately,
in connection with the preliminary injunction proceedings, Defendants submitted
evidence rebutting these allegations. Accordingly, in deciding Plaintiffs’
preliminary injunction motion, the Court is proceeding with a markedly different
record than was before the Court on the emergency TRO application.

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process, whether automated or manual, for Treasury Department payment systems

to flag and pause payment instructions for reasons other than the statutorily-

authorized business of the Treasury Department”; prevent any Treasury

Department employee (other than those in Senate-confirmed positions) from

accessing any Treasury Department system that contained PII or financial

information of payees, other than those “with a need for access to perform their

lawful duties within the [BFS] who have passed all background checks and security

clearances, taken all information security training called for in federal statutes and

Treasury Department regulations, and have complied with all applicable

government ethics rules”; and require Defendants to maintain the quarantine of all

devices and logs used by the Treasury DOGE Team members while working at the

Treasury Department. ECF No. 51-1.

      The Court held a hearing on Plaintiffs’ motion for a preliminary injunction on

February 14, 2025. At the conclusion of the hearing, the Court reserved decision on

the preliminary injunction motion, but held that there was good cause to extend the

Modified TRO while it considered the arguments presented by the parties.

                                   DISCUSSION

      The Court first addresses the threshold question of standing, as that goes to

the Court’s subject matter jurisdiction. The Court then applies the traditional four-

factor test that governs the Court’s consideration of Plaintiffs’ preliminary

injunction motion: likelihood of success on the merits, irreparable harm, the

balance of equities, and the public interest.



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I.    STANDING

      Under Article III of the Constitution, the federal judiciary is limited to

hearing “Cases” and “Controversies.” This constitutional limitation requires a

plaintiff to prove that they have a personal stake in the litigation, i.e., standing.

“To demonstrate their personal stake, plaintiffs must be able to sufficiently answer

the question: ‘What's it to you?’” TransUnion LLC v. Ramirez, 594 U.S. 413, 423

(2021) (citation omitted). Standing is measured by the three-part test set forth in

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). Plaintiffs must show an

injury in fact that is (i) actual and imminent; (ii) fairly traceable to the challenged

conduct of the defendant; and (iii) likely to be redressed by a favorable judicial

decision. Id.; see also TransUnion, 594 U.S. at 423. These requirements ensure

that the federal courts are not “exercise[ing] general legal oversight of the

Legislative and Executive Branches,” but are instead confining themselves to

resolving disputes with real consequences for the parties. TransUnion, 594 U.S. at

423-24.

      “[T]o establish standing for a preliminary injunction, ‘a plaintiff cannot rest

on such mere allegations as would be appropriate at the pleading stage but must set

forth by affidavit or other evidence specific facts, which for purposes of the summary

judgment motion will be taken to be true.’” Do No Harm v. Pfizer Inc., 126 F.4th

109, 119 (2d Cir. 2025) (quoting Cacchillo v. Insmed, Inc., 638 F.3d 401, 404 (2d Cir.

2011)).




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A.    Injury in Fact

      To show an injury in fact, the alleged injury must be “concrete,” meaning

“particularized, and actual or imminent.” Clapper v. Amnesty Int’l USA, 568 U.S.

398, 409 (1983). When assessing whether the unauthorized disclosure of

confidential information qualifies as a concrete injury sufficient to bring a claim for

injunctive relief—particularly in cases involving the disclosure of PII—this Court is

guided by the Supreme Court’s decision in TransUnion and the Second Circuit’s

decision in Bohnak v. Marsh & McLennan Companies, Inc. 79 F.4th 276, 279-80 (2d

Cir. 2023).

      In Bohnak, the plaintiff’s PII was accessed by an unauthorized third party

that accessed her name and Social Security number (“SSN”) through a targeted

data breach of her employer. 79 F.4th at 280. The Bohnak court thus had to

consider “the proper framework for evaluating whether an individual whose [PII] is

exposed to unauthorized actors, but has not (yet) been used for injurious purposes

such as identity theft, has suffered an injury in fact for purposes of . . . Article III

standing to sue for damages . . . .” Id.at 279.

      The Second Circuit instructed that whether plaintiff has suffered a

cognizable injury-in-fact from an unauthorized data disclosure should be analyzed

under a two-part framework, which considers first whether an injury is sufficiently

concrete under the Supreme Court’s decision in TransUnion and second whether

the injury is actual or imminent. Id. at 287-89. Although Bohnak concerned a suit

for damages, as opposed to injunctive relief, this Court will apply the two-part

Bohnak framework and analyze Plaintiffs’ standing accordingly.

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      1.     TransUnion: Concreteness

      In TransUnion, Sergio Ramirez, the named plaintiff, filed a class action

lawsuit seeking statutory damages for TransUnion’s violations of the Fair Credit

Reporting Act (“FCRA”). 594 U.S. at 417. TransUnion, a major credit reporting

agency, conducted credit checks using a third-party software to compare the

consumer’s name against the United States Treasury Department's Office of

Foreign Assets Control list of “specially designated nationals who threaten

America’s national security” (“OFAC List”). Id. at 419-20. When Ramirez

attempted to purchase a car, his name was flagged as being a “potential match” on

the OFAC List, and the car dealership refused to sell him a car. Id. at 420.

Ramirez brought suit under the FCRA, alleging that TransUnion “failed to follow

reasonable procedures to ensure the accuracy of information in his credit file.” Id.

at 421. Ramirez sought certification of a class consisting of all persons whom

TransUnion had internally matched in its system as being on the OFAC List, even

though only a portion of the class members had had credit reports disseminated to

potential creditors. Id.

      To determine whether the class members had standing to recover monetary

damages, the Supreme Court assessed “whether the alleged injury to the plaintiff

has a ‘close relationship’ to a harm ‘traditionally’ recognized as providing a basis for

a lawsuit in American courts.” Id. at 424 (quoting Spokeo, Inc. v. Robins, 578 U.S.

330, 341 (2016)). TransUnion instructs that, while “history and tradition offer a

meaningful guide . . . an exact duplicate in American history and tradition” to the

plaintiff's alleged harm is not required. Id.

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      Applying these principles, the TransUnion Court concluded that the class

plaintiffs whose credit reports had been disclosed to creditors had suffered a

concrete injury closely related to the “reputational harm associated with the tort of

defamation” by having their names falsely identified as potentially being an

individual on the OFAC List. Id. at 432. In contrast, the Supreme Court held that

there was no historical analogue for a suit for damages based upon unpublished

reports, no matter their inaccuracies. Id. at 433-34.

      Notably, in reaching this decision, the Supreme Court emphasized that the

result may well have been different if the plaintiff class members had been seeking

injunctive relief rather than retrospective damages. Id. at 435. Specifically, “a

person exposed to a risk of future harm may pursue forward-looking, injunctive

relief to prevent the harm from occurring, at least so long as the risk of harm is

sufficiently imminent and substantial.” Id.; see also Bohnak, 79 F.4th at 285

(noting that the Supreme Court in TransUnion “explained that, although mere risk

of future harm does not provide standing to seek retrospective damages where

actual harm never materialized, ‘a person exposed to a risk of future harm may

pursue forward-looking, injunctive relief to prevent the harm from occurring, at

least so long as the risk of harm is sufficiently imminent and substantial.’”);

Clemens v. ExecuPharm Inc., 48 F.4th 146, 155 (3d Cir. 2022) (“Where the plaintiff

seeks injunctive relief, the allegation of a risk of future harm alone can qualify as

concrete as long as it ‘is sufficiently imminent and substantial.’” (citation omitted));

Rand v. Travelers Indem. Co., 637 F. Supp. 3d 55, 65 (S.D.N.Y. 2022) (relying upon



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TransUnion in holding that a different standard applied to standing for claims for

injunctive relief and for compensatory damages).

      When applying the TransUnion framework to Bohnak, the Second Circuit

concluded that the “exposure of Bohnak’s private PII to unauthorized third parties”

bore a “close relationship to a well-established common-law analog: public

disclosure of private facts.” Bohnak, 79 F.4th at 285 (citing Restatement (Second)

Torts § 652D). Indeed, the Second Circuit underscored that the “disclosure of

private information” was explicitly listed as an intangible harm “traditionally

recognized as providing a basis for lawsuits in American courts.” Id. at 285-86.

Therefore, the “core of the injury” Bohnak experienced was “the exposure of her

private information—including her SSN and other PII—to an unauthorized

malevolent actor,” falling right within the “scope of an intangible harm the Supreme

Court has recognized as ‘concrete.’” Id. (citing TransUnion, 594 U.S. at 424-25).

      As the Second Circuit did in Bohnak, this Court uses TransUnion as the

“touchstone” to determine whether the States have adequately alleged a concrete

harm. The Court holds that they have. Specifically, Plaintiffs have adequately

alleged both past harm in the unauthorized disclosure of the States’ confidential

financial information to the DOGE Team, and the risk of future harm, in the risk of

exposure of their confidential information to officials of USDS/DOGE and to the

public through potential hacking. The unauthorized disclosure of the States’

confidential information is an intangible harm that is “traditionally recognized as

providing a basis for lawsuits in American courts.” Bohnak, 79 F.4th at 285.



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       2.     Imminence

       To have standing to pursue forward-looking injunctive relief, the risk of harm

alleged by Plaintiffs must be “sufficiently imminent and substantial.” Bohnak, 79

F.4th at 285. “A substantial risk means there is a ‘realistic danger of sustaining a

direct injury.’” Raw Story Media, Inc. v. OpenAI, Inc., No. 24-cv-01514 (CM), 2024

WL 4711729, at *4 (S.D.N.Y. Nov. 7, 2024) (quoting Pennell v. City of San Jose, 485

U.S. 1, 8 (1988)).

       The Court finds, based on the record before it, that Plaintiffs have

established that there is a realistic danger that confidential financial information

will be disclosed absent the grant of injunctive relief. First, the record establishes

that a member of the Treasury DOGE Team sent emails to government employees

outside of the Treasury Department. The Treasury Department currently does not

know whether those emails disseminated confidential PII outside the Treasury

Department, potentially in contravention of the Privacy Act and section 6103 of the

Internal Revenue Code. PI Hearing Tr. at 15:18-23.

       More fundamentally, there is a realistic danger that the rushed and ad hoc

process that has been employed to date by the Treasury DOGE Team has increased

the risk of exposure of the States’ information. Defendants themselves concede that

granting such broad and unprecedented access to the members of the Treasury

DOGE team created heightened security risks, Gioeli Decl., ¶¶ 4, 11, 15, 17, but

contend that their mitigation efforts were sufficient to reduce that risk, id. ¶¶ 4, 11,

13, 15, 17. By Defendants’ own account, however, their mitigation efforts did not

completely address those risks. Compare Id., ¶ 13 (“Additional mitigation measures

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that were adopted included that Mr. Elez would receive ‘read-only’ access to the

systems.”) with id. ¶ 20 (“[I]t was discovered that Mr. Elez’s database access to SPS

on February 5 had mistakenly been configured with read/write permissions instead

of read-only.”) And the record demonstrates that the granting of access to the

Treasury DOGE Team was rushed and undertaken under political pressure. PI

Hearing Tr. at 18:19-23; id. at 19:9-11; id. at 53:11-13 (“[T]ime was of the essence

because the executive order made time of the essence and compliance with them

made time of the essence.” (cleaned up)); Second Krause Decl., ¶¶ 11, 13, 17; Gioeli

Decl., ¶ 4; Robinson Decl., ¶ 6. In that environment, it is unclear whether training

was provided to the individuals who were to be granted that access. PI Hearing Tr.

at 20:14-21:23. The critical sensitivity of the information contained in the BFS

payment systems, which includes the PII and confidential information of both the

States and millions of their residents, requires more than a band-aid approach to

cybersecurity.

      Courts have routinely found that plaintiffs have standing to seek injunctive

relief where inadequate cybersecurity measures put their confidential information

at risk of disclosure. See, e.g., Baton v. Ledger SAS, 740 F. Supp. 3d 847, 882 (N.D.

Cal. 2024) (“Plaintiffs have plausibly alleged that they have Article III standing for

a claim for injunctive relief against TaskUs, because they remain at risk due to

Defendants’ continuing inadequate security system.”); In re USAA Data Sec. Litig.,

621 F. Supp. 3d 454, 473 (S.D.N.Y. 2022) (plaintiffs “plausibly allege that they face

a substantial risk of future harm if USAA’s security shortcomings are not redressed,

making this dispute sufficiently real and immediate with respect to the parties’

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legal relations, which are adverse” (cleaned up)); In re Cap. One Consumer Data

Sec. Breach Litig., 488 F. Supp. 3d 374, 414-15 (E.D. Va. 2020) (“Plaintiffs have

plausibly alleged the continued inadequacy of Defendants’ security measures. And

in that respect, Plaintiffs plausibly allege that they face a substantial risk of future

harm if Amazon's security shortcomings are not redressed.”)

      Defendants insist that the Court must evaluate the imminence of the risk of

future harm under the test set forth by the Second Circuit in McMorris v. Carlos

Lopez & Associates, 995 F.3d 295, 303 (2d Cir. 2021). PI Hearing Tr. at 17:3-22.

But McMorris, while instructive, was concerned with a different question than the

instant case. At issue in McMorris was whether the plaintiff could pursue a claim

for monetary relief based upon a future risk of identity theft or fraud resulting from

a data breach, where no such identity theft had yet occurred. McMorris sets forth a

list of non-exhaustive factors to be used in assessing whether the risk of identity

theft or fraud following the disclosure of an individual’s PII is sufficiently imminent

to permit a damages suit to move forward. McMorris, 995 F.3d at 301-303. Yet the

States are seeking injunctive relief to prevent the unauthorized disclosure of their

information from occurring in the first instance. The question, then, is whether

there is a realistic danger of future unauthorized disclosures of the States’ financial

information. Id. The McMorris factors do not bear on this question. But what

McMorris does tell us is that, in assessing substantial risk, there are no rigid

prerequisites. As the Second Circuit reminds us, “determining standing is an

inherently fact-specific inquiry that ‘requires careful judicial examination of a

complaint’s allegations to ascertain whether the particular plaintiff is entitled to an

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adjudication of the particular claims asserted.’” Id. at 302 (citation omitted).

Applying that fact-specific test here, the Court holds that Plaintiffs have

established the imminence of their future harm.

B.    Causation and Redressability

      “The second and third standing requirements—causation and

redressability—are often ‘flip sides of the same coin.’” FDA v. Alliance for

Hippocratic Med., 602 U.S. 367, 380-81 (2024) (citing Sprint Communications Co. v.

APCC Services, Inc., 554 U.S. 269, 288 (2008)). “If a defendant’s action causes an

injury, enjoining the action or awarding damages for the action will typically

redress that injury.” Id.

      Plaintiffs’ threatened injury is “fairly . . . traceable to the challenged action of

the defendant, and not . . . the result of the independent action of some third party

not before the court.” Lujan, 504 U.S. at 560 (cleaned up). The States have

adequately shown that “but for” the Engagement Plan allowing undertrained

DOGE Team members unusually broad access to sensitive Treasury data, including

source code for all of the BFS payment systems, the States’ financial data would not

be at a higher risk of being exposed, both within the federal government to

potentially unauthorized individuals and outside the government. Indeed, that the

Engagement Plan increased the security risk to the confidential data maintained on

the BFS systems is undisputed.

      Defendants argue, however, that any injury resulting from this heightened

security risk are too speculative and attenuated to meet Article III’s standing

requirements. ECF No. 35 (“Def. Opp. Br.”) at 15-16 (citing Clapper, 568 U.S. at

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410-411). Yet the causal connection element of Article III standing “does not create

an onerous standard. For example, it is a standard lower than that of proximate

causation. Carter v. HealthPort Techs., LLC, 822 F.3d 47, 55 (2d Cir. 2016); see also

Gonzalez v. Costco Wholesale Corp., No. 16-CV-2590, 2018 WL 4783962, at *4

(E.D.N.Y. Sept. 29, 2018) (“The [traceability] requirement is meant to ensure that

the injury was caused by the conduct complained of rather than by an independent

action of some third party not before the court.”). Moreover, Clapper is inapposite.

In Clapper, the Supreme Court held where the parties’ communications could be

subject to lawful surveillance under a number of different legal authorities, the

parties could not show that any surveillance of their communications was fairly

traceable to the challenged statute. 568 U.S. at 412-13. In other words, there was a

potentially intervening action that broke the chain of causation. No such break in

the chain of causation exists here.

      “[A] plaintiff satisfies the redressability requirement when he shows that a

favorable decision will relieve a discrete injury to himself. He need not show that a

favorable decision will relieve his every injury.” Massachusetts v. EPA, 549 U.S.

497, 525 (2007) (cleaned up). The States plausibly contend that granting the

undertrained DOGE Team members access to the BFS payment systems poses a

higher risk of exposing their confidential financial data. Compl., ¶¶ 10, 131, 139;

ECF No. 4 (“Pls. Br.”) at 11-13. And the States warn that “expanded access . . .

puts state’s [sic] finances at an increased risk of interference, fraud, and

unauthorized access.” Pls. Br. at 12. Plainly, a preliminary injunction is capable of

redressing this harm.

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II.   THE PRELIMINARY INJUNCTION MOTION

      Injunctive relief “is an extraordinary and drastic remedy, one that should not

be granted unless the movant, by a clear showing, carries the burden of

persuasion.” Sussman v. Crawford, 488 F.3d 136, 139 (2d Cir. 2007) (per curiam)

(cleaned up). Plaintiffs seeking a preliminary injunction must show that “(1) they

are likely to succeed on the merits; (2) they are likely to suffer irreparable harm in

the absence of preliminary relief; (3) the balance of equities tips in their favor; and

(4) an injunction is in the public interest.” New York v. U.S. Dep’t of Educ., 477 F.

Supp. 3d 279, 293 (S.D.N.Y. 2020). If the federal government is the opposing party,

then the latter two factors merge. Id. at 294 (citing Nken v. Holder, 556 U.S. 418,

435 (2009)). Moreover, the establishment of irreparable harm is the “single most

important prerequisite for the issuance of a preliminary injunction.” Faiveley

Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009) (quotation

marks and citations omitted).

A.    Likelihood of Success on the Merits

      In their Complaint, Plaintiffs assert claims under the APA, a common law

claim that the Defendants have acted ultra vires, and constitutional claims that

Defendants’ actions violate the separation of powers doctrine and the Take Care

Clause of the United States Constitution. To obtain the extraordinary relief of a

preliminary injunction, the States bear the burden of demonstrating that they will

more likely than not prevail on at least one of these claims. “To establish a

likelihood of success on the merits, a plaintiff need not show that success is an

absolute certainty. It need only make a showing that the probability of . . .

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prevailing is better than fifty percent.” fuboTV Inc. v. Walt Disney Co., No. 24-CV-

01363, 2024 WL 3842116, at *16 (S.D.N.Y. Aug. 16, 2024) (cleaned up).

      1.     Plaintiffs’ APA Claims

      The APA establishes a “basic presumption of judicial review for one suffering

legal wrong because of agency action.” Dep’t of Homeland Sec. v. Regents of the

Univ. of California, 591 U.S. 1, 16-17 (2020) (cleaned up). The APA authorizes

courts to set aside agency actions that are contrary to law, in excess of statutory

authority, or arbitrary and capricious. 5 U.S.C. § 706(2). In Counts I and II of their

Complaint, Plaintiffs assert that the United States Treasury acted contrary to law

and in excess of its statutory authority “under the statutes that govern the

collection, storage, handling, and disclosure of PII and confidential financial

information.” Compl., ¶¶ 154-70. In Count III of the Complaint, Plaintiffs contend

that the Treasury Department acted arbitrarily and capriciously by failing to

adequately consider the numerous privacy and security problems associated with

the Engagement Plan. The Court finds that Plaintiffs have not established a

likelihood of success with respect to their statutory APA claims. Plaintiffs have,

however, established that they more likely than not will prevail on their claim that

the challenged agency action was arbitrary and capricious.

             a.    Zone of Interests Test

      As a preliminary matter, in order to bring a statutory or constitutional claim,

Plaintiffs must satisfy the zone of interests test. That is, they must demonstrate

that the “interest sought to be protected by the complainant is arguably within the

zone of interests to be protected or regulated by the statute or constitutional

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guarantee in question.” Bennett v. Spear, 520 U.S. 154, 163 (1997) (quoting

Association of Data Processing Service Org., Inc. v. Camp, 397 U.S. 150, 153 (1970)).

The zone of interests test “denies a right of review if [the plaintiff’s] interests are so

marginally related to or inconsistent with the purposes implicit in [the underlying

statute] that it cannot reasonably be assumed that Congress intended to permit the

suit.” Clarke v. Securities Industry Assn., 479 U.S. 388, 399 (1987); cf. Lexmark Int’l,

Inc. v. Static Control Components, Inc., 572 U.S. 118, 127 (2014) (“Whether a

plaintiff comes within ‘the ‘zone of interests’’ is an issue that requires us to

determine, using traditional tools of statutory interpretation, whether a

legislatively conferred cause of action encompasses a particular plaintiff's claim.”).

      In the APA context, “the interest the party asserts must be arguably within

the zone of interests to be protected or regulated by the statute that he says was

violated.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,

567 U.S. 209, 224 (2012) (cleaned up). Plaintiffs argue that the Treasury

Department violated the Privacy Act, 5 U.S.C. § 552a; the Tax Reform Act of 1976,

26 U.S.C. § 6103; Section 208 of the E-Government Act of 2002, 44 U.S.C. § 101 et

seq.; provisions of the criminal code governing conflicts of interest in government

employment, 8 U.S.C. § 208; and Treasury regulations governing the protection of

SSNs, 31 C.F.R. § 1.32(d). On this record, it is unclear whether there have been

violations of these provisions, in particular the Privacy Act, which circumscribes

agency access to and permissible uses for sensitive confidential information

pertaining to individuals, and section 6103 of the Internal Revenue Code and its

implementing regulations, which similarly creates tight controls over the

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dissemination of tax return information within the federal government. But

ultimately the Court does not need to reach those merits questions, as the Court

finds that these Plaintiffs are not the proper parties to litigate these issues.

      “The relevant zone of interests for an APA claim is defined by ‘the statute

that the plaintiff says was violated,’ rather than by the APA itself.” Moya v. United

States Dep’t of Homeland Sec., 975 F.3d 120, 131 (2d Cir. 2020) (citation omitted);

see also Haitian Refugee Ctr. v. Gracey, 809 F.2d 794, 813 (D.C. Cir. 1987) (“[A]

court must discern whether the interest asserted by a party in the particular

instance is one intended by Congress to be protected or regulated by the statute

under which suit is brought” (emphasis in original)). “In applying the zone of

interests test, we do not ask whether, in enacting the statutory provision at issue,

Congress specifically intended to benefit the plaintiff. Instead, we first discern the

interests arguably to be protected by the statutory provision at issue; we then

inquire whether the plaintiff’s interests affected by the agency action in question

are among them.” Nat’l Credit Union Admin. v. First Nat. Bank & Tr. Co., 522 U.S.

479, 492 (1998) (cleaned up). Although the zone of interests test “is not meant to be

especially demanding,” Clarke, 479 U.S. at 399, “it is not toothless,” Moya, 975 F.3d

at 132. Applying this standard, it is clear that all but one of Plaintiffs’ statutory

APA claims are unlikely to succeed on the merits.

                    i.     Privacy Act
      The Court starts its analysis with the Privacy Act. “Congress enacted the

Privacy Act to provide certain safeguards for an individual against an invasion of

personal privacy, by requiring governmental agencies to maintain accurate records

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and providing individuals with more control over the gathering, dissemination, and

accuracy of agency information about themselves.” Bechhoefer v. U.S. Dep’t of Just.

D.E.A., 209 F.3d 57, 59 (2d Cir. 2000) (cleaned up). Subject to certain exceptions,

the Privacy Act prohibits agencies from disclosing “any record which is contained in

a system of records by any means of communication to any person, or to another

agency, except pursuant to a written request by, or with the prior written consent

of, the individual to whom the record pertains.” 5 U.S.C. § 552a(b).

      Plaintiffs do not contest that the Privacy Act only protects information

regarding individuals, which the statute defines as “a citizen of the United States or

an alien lawfully admitted for permanent residence.” 5 U.S.C.A. § 552a(a)(2). See,

e.g., PI Hearing Tr. at 31:9-18; Pls. Rep. Br. at 8. In other words, the States’

financial information is not protected by the Privacy Act, and any disclosure of

State financial information by a federal agency would not violate the Privacy Act.

The security of financial data belonging to states does not even arguably fall within

the zone of interests that Congress intended to protect through the Privacy Act.

      In arguing that they nonetheless fall within the zone of interests the Privacy

Act seeks to protect, Plaintiffs point to the alleged disclosure of the PII and other

confidential information of their resident citizens. The States argue that, because

they were the “conduits” by which this PII was obtained by the Treasury

Department—as the States upload the PII of its citizens to obtain Medicaid,

Medicare, and other types of funding—they have an interest in protecting this

information. PI Hearing Tr. at 28:17-29:14.



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      State residents are no doubt individuals whose information is protected by

the Privacy Act from unlawful disclosure. But Plaintiffs did not claim to be

advancing the interests of their residents when making their standing arguments.

Nor could they, as the law is clear that a state cannot bring suit against the federal

government to vindicate the rights of its citizens. Haaland v. Brackeen, 599 U.S.

255, 295 (2023) (“A State does not have standing as parens patriae to bring an

action against the Federal Government.”).

      Plaintiffs have premised their standing to pursue this action on their interest

in the security of their own financial information. PI Hearing Tr. at 7:3-15; id. at

12:14-19. There is a clear disjunct between the harm alleged by the Plaintiffs—the

disclosure of their own financial data—and the statutory violation that they assert

under the Privacy Act. Although the zone of interests test is distinct from that of

Article III standing, Moya, 975 F.3d at 133, the nature of the asserted injury in fact

at the standing phase cannot be entirely divorced from “the plaintiff’s interests

affected by the agency action.” Nat’l Credit Union Admin., 522 U.S. at 492. The

Court must compare Plaintiffs’ affected interests—which in this case is the

protection of their own financial information from unauthorized disclosure—with

the zone of interests that the Privacy Act seeks to protect. Id. To hold otherwise

would allow Plaintiffs to perform a bait-and-switch, relying upon the harm to

themselves to establish Article III standing, yet an entirely separate harm for

purposes of the zone of interests inquiry. The zone of interests test does not permit

this. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 883 (1990) (“[T]he plaintiff

must establish that the injury he complains of (his aggrievement, or the adverse

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effect upon him) falls within the ‘zone of interests’ sought to be protected by the

statutory provision whose violation forms the legal basis for his complaint”

(emphasis in original)); Haitian Refugee Ctr., 809 F.2d at 812 ( “[T]o satisfy the zone

of interests requirement, appellants must establish that their particular interests

alleged to have been injured by the interdiction program fall within the respective

zones of interests intended to be protected or regulated [by the challenged

statute].”).

       It is plain that the States’ interest in the protection of its own financial data

is not the type of interest the Privacy Act was enacted to protect. Accordingly, the

claims based upon the Privacy Act are unlikely to succeed on the merits.

                     ii.    Tax Reform Act and Treasury Regulations

       Plaintiffs’ claims premised on section 6103 of the Internal Revenue Code and

Treasury Regulation section 1.32(d) are unlikely to succeed for the same reason as

their Privacy Act claim. The States’ interest in protecting their financial data from

exposure does not fall within the zone of interest of either provision.

       Section 6103 of the Internal Revenue Code protects tax returns and return

information. 26 U.S.C. § 6103(a) (“Returns and return information shall be

confidential, and except as authorized by this title[,] . . . no officer or employee of the

United States . . . shall disclose any return or return information obtained by him in

any manner in connection with his service as such an officer or an employee or

otherwise or under the provisions of this section.”). The disclosure requirements of

section 6103 are stringent, elaborate, and comprehensive.



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             The legislative history of section 6103 indicates
             Congress’s overriding purpose was to curtail loose
             disclosure practices by the IRS. Congress was concerned
             that IRS had become a ‘lending library’ to other
             government agencies of tax information filed with the
             IRS, and feared the public’s confidence in the privacy of
             returns filed with IRS would suffer. . . . Congress also
             sought to end ‘the highly publicized attempts to use the
             Internal Revenue Service for political purposes’ involving
             delivery of tax returns to the White House by the IRS[.]

Stokwitz v. United States, 831 F.2d 893, 894 (9th Cir. 1987); see also Church of

Scientology of California v. I.R.S., 484 U.S. 9, 16 (1987) (“One of the major purposes

in revising § 6103 was to tighten the restrictions on the use of return information by

entities other than [the IRS].”). The statute therefore dictates the strict procedures

that must be followed before tax return information can be disclosed to the

President, 26 U.S.C. § 6103(g)(1), to officials within the Executive Office of the

President, 26 U.S.C. § 6103(g)(2), or the head of a federal agency, id.

      Return information is broadly defined to include

             a taxpayer’s identity, the nature, source, or amount of his
             income, payments, receipts, deductions, exemptions,
             credits, assets, liabilities, net worth, tax liability, tax
             withheld, deficiencies, overassessments, or tax payments,
             whether the taxpayer’s return was, is being, or will be
             examined or subject to other investigation or processing,
             or any other data, received by, recorded by, prepared by,
             furnished to, or collected by the Secretary with respect to
             a return or with respect to the determination of the
             existence, or possible existence, of liability (or the amount
             thereof) of any person under this title for any tax, penalty,
             interest, fine, forfeiture, or other imposition, or offense.

Id. § 6103(b)(2). The States’ confidential financial data in no way constitutes return

information. There is no allegation that the States’ financial data was provided to

the IRS as part of a tax return, or in connection with the determination of any tax

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liability. Accordingly, the harm asserted by the States bears no relation to section

6103’s overriding concern with ensuring the privacy of tax returns.

      Plaintiffs’ reliance upon 31 C.F.R. § 1.32(d) is similarly misplaced. As

pertinent here, this regulation requires the Treasury Department to take “feasible”

steps to “mask, or truncate/partially redact Social Security numbers visible to

authorized Treasury/component information technology users so they only see the

portion (if any) of the Social Security number required to perform their official

Treasury duties.” The States do not have SSNs, so this regulation has no bearing

on their claim for relief.

                    iii.     The E-Government Act

      The claim that Defendants failed to comply with the procedural requirements

of Section 208 of the E-Government Act, which mandates agencies to conduct a

privacy impact assessment (“PIA”) before “developing or procuring technology that

collects, maintains, or disseminates information that is in an identifiable form.”

Section 208(b)(1)(A)(i), Compl., ¶¶ 51, 164, fares no better. Plaintiffs maintain that

the “work performed by the DOGE [T]eam using source code to create an automated

process for flagging and pausing payment instructions in the ‘landing zone’ for

further review by the submitting agency” triggered the Treasury’s requirement to

conduct a PIA prior to the execution of such work. Pls. Rep. Br. at 51. During oral

argument, Plaintiffs further clarified that “[t]he creation in the sandbox of the

automated process falls squarely within the [statute’s] description of developing

information technology.” PI Hearing Tr. at 32:21-23.



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       As with the other statutes concerning the protection of PII, Plaintiffs do not

fall within the zone of interests the E-Government Act was intended to protect.

Section 208, entitled “Privacy Provision,” “by its very name, declares an express

‘purpose’ of ‘ensur[ing] sufficient protections for the privacy of personal information

as agencies implement citizen-centered electronic Government.’” Elec. Priv. Info.

Ctr. v. Presidential Advisory Comm’n on Election Integrity, 878 F.3d 371, 378 (D.C.

Cir. 2017) (quoting section 208(a)). Citing this language, the D.C. Circuit has

explained that the E-Government Act is intended “to protect individuals—in the

present context, voters—by requiring an agency to fully consider their privacy

before collecting their personal information.” Id. at 378 (emphasis in original). The

D.C. Circuit therefore rejected on standing grounds a claim by an organizational

plaintiff. Id. As with the organization in EPIC, the States do not have the type of

personal privacy interest that lies at the heart of the E-Government Act.

                     iv.      Conflict of Interest Criminal Statutes

       Plaintiffs also attempt to bring an APA claim on the grounds that Elez and

Krause were acting in contravention of criminal statutes governing conflicts of

interest in federal employment. Pls. Br. at 19. Plaintiffs cite 18 U.S.C. § 208(a),

which prohibits officers or employees of the executive branch from participating in

decision making on a matter in which they have a financial interest. Compl., ¶ 169.

The parties disagree as to whether Plaintiffs have a sufficient personal interest to

bring claims to enforce these criminal statutes through the APA. See Def. Opp. Br.

at 32; Pls. Rep. Br. at 14.



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      The Court ultimately does not need to decide this question, however, because

Plaintiffs have failed to meet their burden to show, as a factual matter, that this

provision was more likely than not violated, or even implicated by the agency action

in this case. Plaintiffs initially claimed that all members of the DOGE Team were

hired as SGEs, and thus subject to section 208(a)’s requirements. Pls. Br. at 19-20.

The record did not bear this out, as only Krause is an SGE. But in any event, this is

a non-sequitor, as Treasury employees are subject to the provisions of section 208(a)

whether they are SGEs or not. While section 208 does allow SGEs who serve on

advisory committees to be exempted from the prohibitions contained in the statute

if they, inter alia, obtain a certification “that the need for the individual’s services

outweighs the potential for a conflict of interest created by the financial interest

involved,” 18 U.S.C. § 208(b)(3), that provision is inapplicable here. Krause did not

serve on an advisory committee; he was originally appointed as a consultant

pursuant to 5 U.S.C. § 3109. Krause Decl., ¶ 1. And again, whether he was or was

not exempted from the provisions of section 208(a) is irrelevant, as Plaintiffs have

not shown that this statute was violated.

      Plaintiffs argue that section 208(a) “does not authorize disclosure to an SGE

without [a] certification, yet such disclosures have been made to DOGE team

members.” Pl. Br. at 20. But section 208(a) says nothing about who is or is not

authorized to disclose or receive agency information. Accordingly, Plaintiffs cannot

premise their request for injunctive relief on a purported violation of section 208(a).




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             b.     Final Agency Action

      To succeed on the merits of their remaining APA claim—that the challenged

agency action was arbitrary and capricious—Plaintiffs bear the burden of

establishing that there has been a “final agency action.” 5 U.S.C. § 704. For an

agency action to be “final” under the APA, two requirements must be met. “First,

the action must mark the consummation of the agency’s decisionmaking process . . .

And second, the action must be one by which rights or obligations have been

determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S.

154, 177-78 (1997) (cleaned up).

      An agency’s decisionmaking process is considered consummated when its

position is “definitive,” Her Majesty the Queen in Right of Ontario v. U.S. E.P.A.,

912 F.2d 1525, 1531 (D.C. Cir. 1990), not “merely tentative” or of an “interlocutory

nature.” Bennett, 520 U.S. at 178. Defendants argue that Plaintiffs are unable to

satisfy this aspect of the finality prong because they do not offer “written rules,

orders, or even guidance documents that set forth the supposed prior access policy,

or the challenged ‘change’ to that policy.” Def. Opp. Br. at 18. Precedent, however,

is clear that the APA allows challenges to unwritten agency policies and practices

where the requirements of finality are otherwise satisfied. Consummation simply

means that the agency has reached a decision on the issue before it and effectuated

it in some manner; it does not necessarily mean that the challenged agency action

must have been reduced to a written statement. See, e.g., Her Majesty the Queen,

912 F.2d at 1531 (“[T]he absence of a formal statement of the agency’s position, as

here, is not dispositive[.]”); Amadei v. Nielsen, 348 F. Supp. 3d 145, 165 (E.D.N.Y.

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2018) (citing cases); R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 184 (D.D.C. 2015)

(“Agency action . . . need not be in writing to be final and judicially reviewable.”).

“The practical effect of the [agency’s] action, not the informal packaging in which it

was presented, is the determining factor in evaluating whether the [agency’s] action

was ‘final.’” De La Mota v. U.S. Dep’t of Educ., No. 2-cv-4276 (LAP), 2003 WL

21919774, at *8 (S.D.N.Y. Aug. 12, 2003).

      The agency action challenged by Plaintiffs is the decision by the Treasury

Department to constitute a DOGE Team with individuals from outside the agency,

who were employed pursuant to temporary hiring authorities, and provide those

individuals with unprecedented access to the BFS payments systems pursuant to a

four-to-six week Engagement Plan. Pls. Rep. Br. at 5-7; PI Hearing Tr. at 26:23-

27:1 (“It was clearly the culmination of a decision-making process, which is the first

requirement for determining whether something is a final agency action.”). That

this agency action was “consummated” can hardly be gainsaid. Treasury not only

decided to take these steps, it then in fact, by its own admission, implemented

them. As set forth in the declarations submitted by the Treasury witnesses, “BFS

initiated a 4-6 week payment process engagement plan,” where “[t]he objective of

the engagement is to gain insight into the full, end-to-end payment process across

multiple BFS payment systems, and to identify data gaps that, if resolved, would

make the system to work more efficiently and securely.” Second Krause Decl., ¶ 13.

The Treasury Secretary approved the engagement plan, and BFS and the DOGE

Team even “implemented a number of mitigation measures . . . to protect sensitive



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data and minimize the potential of disruptions to systems from the DOGE Team’s

work.” Id. ¶ 15; see also Gioeli Decl., ¶¶ 12-13.

      Defendants’ primary argument is that “legal consequences” did not flow from

this agency action. Def. Opp. Br. at 18-20. It is well settled that courts must apply

a “pragmatic” approach to this prong of the Bennett test. See, e.g., U.S. Army Corps

of Eng’rs v. Hawkes Co., 578 U.S. 590, 599 (2016); Salazar v. King, 822 F.3d 61, 82

(2d Cir. 2016). “In characterizing the inquiry as pragmatic,” courts are to focus on

the “concrete consequences an agency action has or does not have.” Ipsen

Biopharmaceuticals, Inc. v. Azar, 943 F.3d 953, 956 (D.C. Cir. 2019).

      Plaintiffs contend that the disclosure of their sensitive banking information,

as well as the risk of additional disclosures, is an action from which rights are

determined or legal consequences flow. Plaintiffs assert that the grant of access to

the DOGE Team was itself unauthorized and ultra vires, and that any sharing of

that information outside of the Treasury Department with USDS/DOGE further

compounded their injury. Pls. Br. at 4-6; Pls. Rep. Br. at 11-16. The States further

maintain that the expansion of access to the DOGE team members increases data

security risk. Pls. Rep. Br. at 3-5 (“There can be no serious dispute that the DOGE

team’s prior and future access contemplated by the plan carries with it substantial

risk that could cause future harm by compromising the States’ financial

information.”). Defendants’ own declarant admits the same. According to Gioeli,

the “scope of work as envisioned in the engagement plan” necessitated a level of

access that “presented risks, which included potential operational disruptions to

Fiscal Service’s payment systems, access to sensitive data elements, insider threat

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risk, and other risks that are inherent to any user access to sensitive IT systems.”

Gioeli Decl., ¶ 11. Acknowledging the risks of data disclosure, “BFS and Treasury

Departmental Office employees developed mitigation strategies that sought to

reduce these risks.” Id.

      Indeed, a real possibility exists that sensitive information has already been

shared outside of the Treasury Department, in potential violation of federal law.

Although the Gioeli Declaration states that Elez had not used his BFS laptop to

transmit BFS data outside of the U.S. Government, Gioeli Decl., ¶ 21, the

declaration is “silent as to whether any such information was shared outside of

Treasury.” Pls. Rep. Br. at 11. The careful wording of the Gioeli Declaration was

no accident. At the preliminary injunction hearing, counsel for Defendants

admitted that Elez did send emails outside of the Treasury Department, and that

the agency does not know whether any of those emails contained protected PII or

confidential bank information. PI Hearing Tr. at 15:18-23.

      The disclosures of confidential information to the Treasury DOGE Team that

have already taken place as part of the Engagement Plan, as well as the risk of

future disclosures both to those in USDS/DOGE and outside the federal

government, are sufficient to meet the second prong of the Bennett test. See

Venetian Casino Resort, LLC v. EEOC, 530 F.3d 925, 931 (D.C. Cir. 2008)

(“Adopting a policy of permitting employees to disclose confidential information

without notice is surely a ‘consummation of the agency’s decisionmaking process,

and one by which [the submitter’s] rights [and the agency’s] obligations have been

determined.’” (citation omitted)). Applying the pragmatic approach, the Court

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therefore holds that Plaintiffs have sufficiently shown the concrete consequences

that flow from the challenged agency action.

      Defendants counter that, “to establish finality, Plaintiffs would need to show

that their data has, in fact, been improperly disclosed (including to the Treasury

DOGE Team)—not just that the Team had access to it.” Def. Opp. Br. at 20

(emphasis added). This argument conflates the final agency action prong with the

ultimate merits inquiry, however. The D.C. Circuit’s decision in Venetian Casino

Resort is particularly instructive on this point. In that case, the D.C. Circuit held

that the agency’s adoption of a policy permitting employees to disclose confidential

information in its possession without notice to the owner of the information was

final agency action, because it was an action from which the rights of the owner of

the information were determined. 530 F.3d at 931. This was so even though the

Court ultimately concluded that the agency had not violated the law in making such

disclosures. Id. at 934. Whether the disclosures were authorized by law was a

separate inquiry that went to the merits of Plaintiffs’ APA claim, not to the question

of final agency action. Id. at 931.

      Defendants also rely on Lujan v. Nat’l Wildlife Federation, in which the Court

rejected an APA challenge to the Bureau of Land Management’s land withdrawal

review program. 497 U.S. 871, 890 (1990); PI Hearing Tr. at 43:14-16 (“[The

Engagement Plan] is more akin to the broad programmatic attack in Lujan, but it

just doesn’t fit within the definition of a final agency action.”). Lujan, however, is

inapposite as the Court there specifically rejected the respondent’s sought-after

“wholesale improvement of the program” instead of narrowing its challenge to an

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“identifiable ‘agency action.’” 497 U.S. at 875. By failing to narrow the “land

withdrawal review program” to “a single BLM order or regulation, or even to a

completed universe of particular BLM orders and regulations,” the respondent could

not identify a “concrete action that harms or threatens to harm the complainant.”

Id. But the States have in fact narrowed their challenge to the Engagement Plan,

as Defendants concede. PI Hearing Tr. at 46:8-9 (“[Plaintiffs] clearly stated [in

their reply brief] that the final agency action is the engagement plan, and they have

embraced that.”).

      Accordingly, the Court finds that, under the pragmatic approach, legal

consequences flow from the Engagement Plan’s effect of providing the “agreed-upon

levels of access to BFS databases and source code.” Second Krause Decl., ¶ 16. The

Engagement Plan is not an amorphous component of a large set of “continuing (and

thus constantly changing) [agency] operations,” as was the case in Lujan. 497 U.S.

at 875. The Engagement Plan was a concrete action that, according to Defendants’

own affidavits, had a clear objective and provided access to Treasury DOGE Team

members. Second Krause Decl., ¶¶ 3, 12-14.

             c.     Plaintiffs’ Arbitrary and Capricious Claim

      Having determined that there is final agency action, the Court now turns to

the merits of Plaintiffs’ remaining APA claim. The APA authorizes courts to set

aside agency action that is arbitrary or capricious. 5 U.S.C. § 706(2). In

determining whether an action is arbitrary and capricious, courts “consider whether

the decision was based on a consideration of the relevant factors and whether there

has been a clear error of judgment.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

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Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). An agency practice is arbitrary

and capricious “if the agency has relied on factors which Congress has not intended

it to consider, entirely failed to consider an important aspect of the problem, offered

an explanation for its decision that runs counter to the evidence before the agency,

or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Id. Agency actions can also be considered arbitrary

and capricious if there is an “[u]nexplained inconsistency” in its policy, Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016); if the agency is found to have

acted in bad faith, Saget v. Trump, 375 F. Supp. 3d 280, 354 (E.D.N.Y. 2019); or if

an agency fails to provide a “reasoned explanation” for a change in policy, New York

v. United States Dep’t of Health & Hum. Servs., 414 F. Supp. 3d 475, 547 (S.D.N.Y.

2019). The arbitrary and capricious standard “is not limited to formal rules or

official policies and applies equally to practices implied from agency conduct.”

Saget, 375 F. Supp. 3d at 355. Although the reviewing court cannot “substitute its

judgment for that of the agency,” its “inquiry . . . is to be searching and careful.”

Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971).

      Additionally, a court may not set aside an agency action solely because it

might have been influenced by political considerations or prompted by the priorities

of a new Presidential administration. Agency policymaking is not a “rarified

technocratic process, unaffected by political considerations or the presence of

Presidential power.” Dep’t of Com. v. New York, 588 U.S. 752, 781 (2019). But see

Town of Orangetown v. Ruckelshaus, 740 F.2d 185, 188 (2d Cir. 1984) (a claim of

improper political influence on a federal administrative agency will lie if the

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“political pressure was intended to and did cause the agency’s action to be

influenced by factors not relevant under the controlling statute”).

      Based upon the factual record developed to date, the Court finds that

Plaintiffs will more likely than not succeed in establishing that the agency’s

processes for permitting the Treasury DOGE Team access to critical BFS payment

systems, with full knowledge of the serious risks that access entailed, was arbitrary

and capricious. While it appears that the career staff at BFS did their best to

develop what mitigation strategies they could, the inexplicable urgency and time

constraints under which they operated all but ensured that the launch of the

Treasury DOGE Team was chaotic and haphazard.

      As an initial matter, everything about this process was rushed. The E.O. was

signed on January 20, 2025. Elez was hired by the Treasury Department on

January 21, and Krause was appointed on January 23. The record is silent as to

what vetting or security clearance process they went through prior to their

appointment.

      Krause was first appointed under the authority of 5 U.S.C. § 3109, even

though that hiring authority did not allow him to exercise the supervisory or

policymaking authority that he clearly had. 5 C.F.R. § 304.103(b). Within a few

weeks time, the Treasury Department then had to switch his appointment to a

Temporary Transitional Schedule C employee. Elez was brought on board, then

resigned a mere 16 days later. Gioeli Decl., ¶ 22.

      The Treasury DOGE Team started its work almost immediately, even though

it did not yet have either the HR specialist or the attorney that the E.O. mandated

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should be members of the team. This left career staff with almost no time to

develop their mitigation measures. Within days of his appointment, and apparently

after receiving minimal, if any, training regarding the handling of sensitive

government information (beyond being instructed to maintain the information on

his BFS laptop), Elez was given full access to system source codes. Id. ¶ 4. Perhaps

most troubling is that Elez was mistakenly given read/write access to SPS. Id. ¶ 20.

Although this error was discovered the day Elez resigned, it speaks to the hurried

nature of this process that it occurred at all.

      Although the record indicates that Elez’s access to BFS payment systems was

at times closely monitored, at other points it appears that no one from BFS was

contemporaneously aware of what he was doing. Id. ¶ 18. Even now, weeks after

his departure, the Treasury Department is still reviewing his logs to determine

what precisely he accessed and what he did with his access. Id. The Treasury

Department also could not confirm whether or not Elez emailed PII or other

confidential information to officials outside the Treasury Department. PI Hearing

Tr. at 15:18-23.

      It is also unclear from this record whether the agency established clear

reporting lines for the Treasury DOGE Team. Although they are nominally agency

employees who sit within the Treasury chain of command, it is notable that they

also take instructions from officials at USDS/DOGE. How this works in practice,

and the uncertainty this creates as to their status as Treasury employees, calls into

question their authority to access Treasury record systems. Given the uniqueness



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of the DOGE Team’s almost hybrid status, a more considered process for bringing

the DOGE Team on board might have helped clarify these issues.

      When asked at the preliminary injunction hearing the reason for this

accelerated process, counsel for the Government pointed to the urgency sparked by

the President’s Executive Orders. PI Hearing Tr. at 18:20-19:14. This explanation

is riddled with inconsistencies. Encino Motorcars, 579 U.S. at 222 (inconsistencies

and failure to offer a reasoned explanation for policy render agency action arbitrary

and capricious). The E.O. did not demand that the Treasury DOGE Team begin its

work immediately; indeed, the E.O. provided agencies with 30 days to constitute

agency DOGE Teams. E.O. § 3(c). And to the extent it was suggested that the

Treasury Department required the expertise of these two individuals, who had been

employed at the Treasury Department for a matter of days and who had not yet

been trained on the BFS payment systems, to implement the President’s Executive

Orders requiring pauses of certain categories of foreign assistance, the Court finds

this explanation lacks credibility. In any event, any artificial sense of urgency

engendered by the Government’s imposition of time limits on itself would not justify

the flawed process that occurred here.

      The process by which the Treasury DOGE Team was appointed, brought on

board, and provided with access to BFS payment systems could have been

implemented in a measured, reasonable, and thoughtful way. To date, based on the

record currently before the Court, it does not appear that this has been the case.




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      2.     Plaintiffs’ Constitutional and Common Law Claims

             a.     Separation of Powers Doctrine

      As with their statutory APA claims, there is a disconnect between Plaintiffs’

separation of power claim and the harm that Plaintiffs nominally seek to remedy

through this suit. Plaintiffs’ separation of powers claim is primarily premised on a

concern that the Treasury Department DOGE Team has or will seek to block

Congressionally-appropriated funding. Compl., ¶ 189; Pls. Br. at 23-24. Plaintiffs

argue that “the application under the Engagement Plan of an ideological litmus test

to flag and block legislatively appropriated and authorized federal funding is an

unlawful usurpation of Congress’s power of the purse in violation of the Separation

of Powers doctrine.” Pls. Rep. Br. at 16.

      The zone of interests protected by the separation of power doctrine sweeps

broadly and is not limited to the interests of the three branches of the federal

government. See, e.g., Bond v. United States, 564 U.S. 211, 222 (2011) (“Separation-

of-powers principles are intended, in part, to protect each branch of government

from incursion by the others. Yet the dynamic between and among the branches is

not the only object of the Constitution’s concern. The structural principles secured

by the separation of powers protect the individual as well.”). “The declared purpose

of separating and dividing the powers of government, of course, was to ‘diffus[e]

power the better to secure liberty.’” Bowsher v. Synar, 478 U.S. 714, 721 (1986)

(quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952)

(Jackson, J., concurring)).



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      But Plaintiffs have repeatedly affirmed that they are not directly challenging

any blocking of federal funding. For example, at the preliminary injunction hearing

held in this matter, counsel for Plaintiffs stated:

             [Interruption of state funding] is not part of our case, so
             it’s really not relevant. Our case is not brought based on
             the states’ funding having been blocked. That’s not the
             basis for our injury in fact under Article III, and it’s not
             the basis for why we are here. We are here because the
             states’ bank information has been accessed. . . . There are
             other cases in other courts that are centered on funding
             being blocked. That’s not this case.

PI Hearing Tr. at 12:14-24.

      The structural and liberty interests at the heart of the separation of powers

doctrine would appear, at best, tangential to Plaintiffs’ asserted interest in the

protection of its financial data. Plaintiffs argue that the reason their sensitive

financial data has been compromised by the Treasury DOGE Team is to further

Defendants’ agenda to interrupt federal funding streams in violation of separation

of powers. Compl., ¶ 189. This may bear on the causation prong of an Article III

standing analysis, but it does not establish that the security of financial data falls

within the interests that animate the separation of powers doctrine.

      Accordingly, the Court finds that Plaintiffs’ asserted interest in data security

is too attenuated from the concerns of the separation of power doctrine, and thus

they are unlikely to prevail on this claim.

             b.     Take Care Clause

      The States also contend that the President, in “directing that the Agency

Action be adopted and implemented,” contravened the Take Care Clause of the


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Constitution. Compl., ¶¶ 194-99. Although Plaintiffs do not specify, presumably

this refers to the President’s issuance of the E.O. Plaintiffs’ Take Care Clause claim

is without merit and thus does not provide a basis for granting injunctive relief.

      Article II of the U.S. Constitution mandates the President to “take Care that

the Laws be faithfully executed.” U.S. Const., art. II § 3. Just as the Constitution

prevents Congress from intruding on the President’s power to execute the laws, the

President — and his subordinates — do not wield “authority to set aside

congressional legislation by executive order.” In re United Mine Workers of Am.

Int’l Union, 190 F.3d 545, 551 (D.C. Cir. 1999).

      Neither set of parties devote more than a few sentences to the Take Care

Clause claim. Our discussion will be similarly brief. Courts have expressed serious

doubts as to the justiciability of Take Care Clause challenges. See Citizens for Resp.

& Ethics in Washington v. Trump, 302 F. Supp. 3d 127, 139-40 (D.D.C. 2018); see

also Mississippi v. Johnson, 71 U.S. 475, 499 (1866) (acknowledging “the general

principles which forbid judicial interference with the exercise of Executive

discretion”). Nevertheless, even when assuming that a Take Care Clause challenge

of an Executive Order is justiciable, courts have required that plaintiffs either

challenge the President’s Executive Order directly or argue that the President has

exceeded his authority in issuing the Order. Citizens for Resp. & Ethics, 302 F.

Supp. at 140; see also Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 318 F. Supp. 3d

370, 439 (D.D.C. 2018) (declining to find a Take Care Clause violation due to lack of

“some indication that the [Executive] Orders issued here exceed the statutory

authority of the President in a manner that clearly implicates the constitutional

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duties and prerogatives that [Plaintiff] says apply”), rev’d and vacated on other

grounds, 929 F.3d 748 (D.C. Cir. 2019).

      The States are unlikely to prevail on their Take Care Clause claim because

they do not point to anything in the E.O. itself that exceeded the President’s

statutory authority. Although the States’ reply brief maintains that the President

cannot apply the Engagement Plan to “flag and block legislatively appropriated and

authorized federal funding” in violation of his duties under the Take Care Clause,

Pls. Rep. Br. at 16, the E.O. does not speak to the blocking of funding. As to

information access, the E.O. states that “Agency Heads shall take all necessary

steps, in coordination with the USDS Administrator and to the maximum extent

consistent with law, to ensure USDS has full and prompt access to all unclassified

agency records, software systems, and IT systems. USDS shall adhere to rigorous

data protection standards.” E.O. § 4(b) (emphasis added). Plaintiffs do not point to

any language in the E.O. that is in contravention of federal law. Nor do Plaintiffs

explain how the President has acted “without authority to set aside congressional

legislation” through issuing the E.O. itself. In re United Mine Workers of Am. Int’l

Union, 190 F.3d at 551.

             c.    Ultra Vires

      Plaintiffs’ ultra vires claim likewise can be disposed of easily. An ultra vires

claim “is only available in the extremely limited circumstance when three

requirements are met: (i) the statutory preclusion of review is implied rather than

express; (ii) there is no alternative procedure for review of the statutory claim; and

(iii) the agency plainly acts in excess of its delegated powers and contrary to a

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specific prohibition in the statute that is clear and mandatory.” Yale New Haven

Hosp. v. Becerra, 56 F.4th 9, 26-27 (2d Cir. 2022) (cleaned up). An ultra vires claim

has been referred to as “essentially a Hail Mary pass,” DCH Reg’l Med. Ctr. v. Azar,

925 F.3d 503, 509 (D.C. Cir. 2019) (citation omitted), because of its “extraordinarily

narrow” scope, Hartz Mountain Corp. v. Dotson, 727 F.2d 1308, 1312 (D.C. Cir.

1984).

          Plaintiffs’ limited argument in support of its ultra vires claim is that, for the

same reasons that the Engagement Plan violate the APA, they are also ultra vires.

Pls. Br. at 22; Pls. Rep. Br. at 15-16. Yet just as Plaintiffs cannot rely upon the

APA to press statutory claims because they do not fall within the zone of interests of

the cited statutes, Plaintiffs cannot use the backdoor of an ultra vires claim to

achieve the same end. Haitian Refugee Ctr., 809 F.2d at 811 n.14 (for ultra vires

claim, where litigant claims that a statute limited an agency’s authority, the

litigant must be in the zone of interests that limitation was designed to protect).

         In any event, Plaintiffs have not established that the Department of the

Treasury acted contrary to a “specific prohibition” that is “clear and mandatory.”

For example, while Plaintiffs allege that allowing Krause and Elez access to PII in

the BFS payment systems violated the Privacy Act, the Privacy Act permits

disclosure “to those officers and employees of the agency which maintains the record

who have a need for the record in the performance of their duties.” 5 U.S.C. §

552a(b)(1). Plaintiffs have offered no evidence that Krause and Elez were not

employees of the Treasury Department at the time of the disclosures. And the

language permitting employees to have access “in the performance of their duties”

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does not so clearly prohibit the DOGE Team’s access to these systems that it rises to

the extraordinary level of an ultra vires violation.

B.    Irreparable Harm

      Although the States’ irreparable harm arguments are closely tied to their

injury points to establish standing, the Court shall separately address the question

of irreparable harm required to obtain a preliminary injunction. “To satisfy the

irreparable harm requirement, plaintiffs must demonstrate that absent a

preliminary injunction they will suffer an injury that is neither remote nor

speculative, but actual and imminent, and one that cannot be remedied if a court

waits until the end of trial to resolve the harm.” Faiveley Transp. Malmo AB v.

Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009) (quoting Grand River Enter. Six

Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007)). Although the “mere

possibility of irreparable harm is insufficient,” Borey v. Nat’l Union Fire Ins. Co.,

934 F.2d 30, 34 (2d Cir. 1991), Plaintiffs need only show that there is a “threat of

irreparable harm, not that irreparable harm already [has] occurred,” Mullins v. City

of New York, 626 F.3d 47, 55 (2d Cir. 2010). Indeed, courts have recognized that

increased “risk” of negative consequences is sufficient to meet the irreparable harm

requirement for a preliminary injunction. See, e.g., Mullins, 626 F.3d at 55

(increased risk of deterrence from protecting employees’ rights due to retaliation);

Holt v. Continental Group, Inc., 703 F.2d 87, 91 (2d Cir. 1983) (same); Arias v.

Decker, 459 F. Supp. 3d 561, 571 (S.D.N.Y. 2020) (increased risk of severe infection

in immigration detention).



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      Courts in the Second Circuit have repeatedly found that the future risks of

disclosure of PII can amount to irreparable harm satisfying the injunctive relief

standard, as long as the expectation of privacy is reasonable. For example, the

Court in Weisshaus v. Cuomo denied a preliminary injunction to the plaintiff who

could not demonstrate that his “expectation of privacy in [his] information . . . [was]

[] one society is prepared to recognize as reasonable.” 512 F. Supp. 3d 379, 394

(E.D.N.Y. 2021). And, in Trump v. Deutsche Bank AG, the Second Circuit affirmed

that there was irreparable harm where the plaintiffs had a reasonable interest in

keeping their records private, and the defendants’ promises to keep the records

confidential did not sufficiently protect such interest. 943 F.3d 627, 637 (2d Cir.

2019) (“plaintiffs have an interest in keeping their records private from everyone,

including congresspersons”), vacated on other grounds, Trump v. Mazars USA, LLP,

591 U.S. 848 (2020).

      Here, Plaintiffs sufficiently allege irreparable harm from the risk of

“expanded access” to the BFS payment systems that will possibly compromise the

systems to become “far more vulnerable to hacking or activities that render the

information corrupted or compromised.” Pls. Br. at 13. The Court finds that there

is a “substantial risk of future harm” where the data access protocols in place do not

satisfactorily vet the employees with access and rigorously train them in data

security measures. In re Cap. One Consumer Data Sec. Breach Litig., 488 F. Supp.

3d 374, 414-15 (E.D. Va. 2020) (plaintiffs “plausibly alleged the continued

inadequacy of [USAA’s] security measures” to show “they face a substantial risk of

future harm if [the] security shortcomings are not redressed”); see also Rand v.

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Travelers Indemnity Co., 637 F. Supp. 3d 55, 73 (S.D.N.Y. 2022) (plaintiff entitled to

“injunctive relief in the form of requiring [defendant] to implement certain specific

security protocols, including engaging third-party auditors to test its systems for

weaknesses and regularly testing its systems for security vulnerabilities”).

Moreover, as the Court has already found that Plaintiffs have sufficiently alleged

Article III standing, it is proper to find that Plaintiffs have sufficiently

demonstrated irreparable harm absent a preliminary injunction. See, e.g., New

York v. U.S. Dep’t of Homeland Sec., 408 F. Supp. 3d 334, 350-51 (S.D.N.Y. 2019)

(finding that plaintiff who demonstrated concrete and particularized injuries for

standing had also shown irreparable harm); Make the Road New York v. Cuccinelli,

419 F. Supp. 3d 647, 665 (S.D.N.Y. 2019) (same).

C.    Balance of the Equities and Public Interest

      “In determining whether the balance of the equities tips in the plaintiff’s

favor and whether granting the preliminary injunction would be in the public

interest, the Court must balance the competing claims of injury and must consider

the effect on each party of the granting or withholding of the requested relief, as

well as the public consequences in employing the extraordinary remedy of

injunction.” Bionpharma Inc. v. CoreRx, Inc., 582 F. Supp. 3d 167, 178 (S.D.N.Y.

2022) (cleaned up).

      Defendants’ interest in the modernization and increased efficiency in

Treasury payment systems is not undercut by the relief the Court is Ordering.

Indeed, taking the time to adequately mitigate potential security concerns and

properly onboard members to engage in this work outweighs the Defendants’

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immediate need to access and redevelop Treasury systems. Without addressing

these issues, the potential consequences of a cybersecurity breach could be

catastrophic.

       It is undisputed that the BFS payment systems are critical to the financial

infrastructure of the nation. Moreover, those systems contain sensitive PII and

financial data regarding millions of American citizens. The public interest is

plainly served by requiring the Treasury Department to ensure, to the maximum

extent possible, the security of these systems and the information contained

therein.

III.   REMEDY

       Having found that Plaintiffs have met the requirements for a preliminary

injunction under Rule 65, the Court must now fashion appropriate relief. In doing

so, the Court takes heed of the Second Circuit’s admonishment that a preliminary

injunction should be “narrowly tailored to fit specific legal violations.” Faiveley

Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 119 (2d Cir. 2009) (citation

omitted).

       Plaintiffs’ request for an injunction preventing the Treasury Department

from developing automated and manual processes to halt payments coming through

the BFS systems bears only an attenuated relation to Plaintiffs’ injury. Plaintiffs

argued at the preliminary injunction hearing that “if we restrain them from

developing this automated process, that gives us some assurance that they won't be

bringing in more DOGE team engineers or other engineers, or anybody who doesn't

have the requisite training to access this information.” PI Hearing Tr. at 62:10-14.

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This argument does not withstand scrutiny. Plaintiffs’ proposed injunction

simultaneously sweeps too broadly and not broadly enough. It would not prevent,

for example, the DOGE Team from accessing the BFS payments systems for any of

their other stated goals, including modernizing the Treasury Department’s

technology systems to improve their capability for detecting fraud. Such an

injunction does not remedy Plaintiffs’ harm.

      Additionally, as counsel for the Government pointed out at the preliminary

injunction hearing, the language of the proposed injunction does not make clear to

Defendants what actions they are prohibited from taking. Id. at 64:24-65:7.

Plaintiffs request that Treasury employees “other than those employees with a need

for access to perform their lawful job duties” be prohibited from accessing Treasury

payment systems, but that begs the question of whether DOGE Team members are

performing “lawful job duties.” Clearly the Treasury Department contends that

they are. This formulation, then, does not have the clarity required of an

injunction.

      In determining the appropriate scope of the injunction, the Court is mindful

that the usual remedy in an APA case is to remand to the agency in order to provide

it with an opportunity to cure the identified deficiency. Such a course is

particularly appropriate where, as here, the issues identified by the Court largely

have to do with the processes followed by the agency, and not with the substance of

its decisions.

      With these principles in mind, the Court hereby ORDERS as follows:



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      ORDERED that, pursuant to Rule 65 of the Federal Rules of Civil Procedure,

the United States Department of the Treasury and the Secretary of the Treasury

are restrained from granting access to any Treasury Department payment record,

payment systems, or any other data systems maintained by the Treasury

Department containing personally identifiable information and/or confidential

financial information of payees to any employee, officer or contractor employed or

affiliated with the United States DOGE Service, DOGE, or the DOGE Team

established at the Treasury Department, pending further Order of this Court;

      ORDERED that, by Monday, March 24, 2025, the United States

Department of the Treasury shall submit a report to this Court: (i) certifying that

the Treasury DOGE Team members have been provided with all training that is

typically required of individuals granted access to BFS payment systems, including

training regarding the federal laws, regulations, and policies governing the

handling of personally identifiable information, tax return information, and

sensitive financial data, and maintaining the integrity and security of Treasury

data and technology, and attesting that any future Treasury DOGE Team member

will be provided with this same training prior to being granted access to BFS

systems; (ii) certifying the vetting and security clearances processes that members

of the Treasury DOGE Team have undergone, and how that vetting process

compares with the processes undergone by career employees who have previously

been granted access to the BFS payment systems; (iii) describing the mitigation

procedures that have been developed to minimize any threats resulting from

increased access by members of the Treasury DOGE Team to BFS payment

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systems; (iv) setting forth the legal authority pursuant to which each DOGE Team

member was employed by or detailed to the Treasury Department; and (v)

explaining the reporting chains that govern the relationship between the DOGE

Team members, USDS/DOGE, and Treasury leadership (with reference, if

applicable, to any Memorandum of Understanding setting forth that relationship).

      Upon receipt of the above submissions from the Department of the Treasury,

the Court will schedule prompt briefing to address whether the Treasury

Department has adequately redressed the violations of the APA found herein, so as

to justify the termination or modification of the preliminary injunction.

      The Court hereby defers setting deadlines for the filing of a proposed case

management plan or motions to amend the Complaint, and stays any deadlines for

filing dispositive motions. The Court will take up such matters after determining

whether, and if so to what extent, a preliminary injunction remains warranted after

the Treasury Department’s forthcoming submission.

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction is

GRANTED.

SO ORDERED.
Dated: February 21, 2025                       ________________________________
       New York, New York                          JEANNETTE A. VARGAS
                                                   United States District Judge




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